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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   UNITED STATES OF AMERICA,
10                Plaintiff,                          Case No. CR03-493L
11         v.                                         ORDER RETURNING REMAINING
12                                                    PROPERTY
     GARY WILLIAMS,
13                Defendant.
14
15        This matter comes before the Court on defendant’s “Motion to Amend August 8, 2005

16 Order Directing Government to Return Seized Items to Defendant” (Dkt. # 387). Pursuant to the
17 proposal in the “Government’s Response to Defendant’s Motion to Amend August 8, 2005
18 Order Directing Government to Return Seized Items” (Dkt. # 388), IT IS HEREBY ORDERED
19 that the government return the following items:
20        1.     Item 1A of 1B 29 - Watch;

21        2.     Item 1B of 1B 29 - Gold Ring;

22        3.     Item 46 of 1B 29 - Necklace;

23        4.     Item 47 of 1B 29 - Watch;

24        5.     Item 1 of 1B 31 - Gold Ring with Diamond;

25        6.     Item 2 of 1B 31 - Gold Earring with Diamond.

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     ORDER RETURNING REMAINING
     PROPERTY
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1        Defendant’s request that these items be sent to Lithonia, Georgia is DENIED. These
2 items should be picked up in person at the FBI offices in Seattle, Washington. Counsel for
3 defendant or any other legal representative may arrange for the return by contacting counsel for
4 the government.
5
6        DATED this 29th day of September, 2005.
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9                                                  A
                                                   Robert S. Lasnik
10
                                                   United States District Judge
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     ORDER RETURNING REMAINING
     PROPERTY

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